             Case: 22-1864                   Document: 94                   Page: 1              Date Filed: 03/03/2023
                                                McGuireWoods LLP                         Jonathan Y. Ellis
                                                501 Fayetteville St.                     Direct: 919.755.6688
                                                Suite 500                                jellis@mcguirewoods.com
                                                Raleigh, NC 27601
                                                Phone: 919.755.6600
                                                Fax: 919.755.6699
                                                www.mcguirewoods.com




March 3, 2023

VIA Electronic Filing

Patricia S. Dodszuweit, Clerk
Office of the Clerk
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790


        Re:         No. 22-1864, Consumer Financial Protection Bureau v. National Collegiate
                    Master Student Loan Trust, et al.
                    Submission of Supplemental Authority

Dear Ms. Dodszuweit:

Pursuant to Federal Rule of Appellate Procedure 28(j), the Appellant Trusts bring to the Court’s
attention the Supreme Court’s recent grant of certiorari in Consumer Financial Protection Bureau
v. Consumer Financial Services Ass’n of America, No. 22-448 (Feb. 27, 2023) (“CFSA”).

CFSA presents the question whether the CFPB’s funding scheme violates the Appropriations
Clause, U.S. Const. Art. I, § 9, Cl. 7. An affirmance in CFSA would profoundly impact all
litigation involving the CFPB, including this case. The Fifth Circuit concluded in CFSA that the
“Bureau’s funding apparatus cannot be reconciled with the Appropriations Clause and the clause’s
underpinning, the constitutional separation of powers.” CFSA v. CFPB, 51 F.4th 616, 642 (5th
Cir. 2022). And the court vacated the agency’s Payday Lending Rule to remedy that violation,
because its promulgation was funded by that unconstitutional scheme. Id. at 643.

Because the CFPB’s enforcement actions are funded by the same unconstitutional scheme, this
action would almost certainly warrant dismissal if the Supreme Court affirms the Fifth Circuit’s
remedial holding. As the CFPB has acknowledged, CFSA has “enormous legal and practical
consequences” and “threatens the validity of all past CFPB actions.” Petition for Writ of Certiorari
at 28, 29, CFSA, No. 22-448 (U.S. Nov. 14, 2022). Although the Appropriations Clause question
is not presented in this appeal, it remains a live issue in this case as one of the Trusts’ expressly
preserved affirmative defenses. Dist. Ct. Dkt. No. 392 at 14.

In addition, the Fifth Circuit relied heavily on Collins v. Yellen, 141 S. Ct. 1761 (2021), in
determining the appropriate remedy, finding it relevant not only to removal cases but to
“separation-of-powers cases more generally.” CFSA, 51 F.4th at 642. How to read and apply


      Atlanta | Austin | Baltimore | Charlotte | Charlottesville | Chicago | Dallas | Houston | Jacksonville | London | Los Angeles - Century City
           Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
          Case: 22-1864      Document: 94       Page: 2      Date Filed: 03/03/2023

March 3, 2023
Page 2


Collins is, of course, also in dispute here. The Supreme Court’s resolution of CFSA therefore may
also aid this Court’s resolution of this appeal.

                                            Respectfully submitted,

                                            /s/ Jonathan Y. Ellis

                                            Jonathan Y. Ellis
                                            MCGUIREWOODS LLP
                                            501 Fayetteville Street
                                            Suite 500
                                            Raleigh, NC 27601
                                            jellis@mcguirewoods.com

                                            Nicholas J. Giles
                                            MCGUIREWOODS LLP
                                            Gateway Plaza
                                            800 East Canal Street
                                            Richmond, VA 23219
                                            ngiles@mcguirewoods.com

                                            Francis J. Aul
                                            MCGUIREWOODS LLP
                                            888 16th Street, N.W.
                                            Suite 500
                                            Washington, D.C. 20006
                                            faul@mcguirewoods.com

                                            Counsel for the Defendant-Appellant Trusts
          Case: 22-1864       Document: 94       Page: 3      Date Filed: 03/03/2023


                                CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2023, the foregoing was filed with the Clerk of the United

States Court of Appeals for the Third Circuit using the appellate CM/ECF System, which will also

serve counsel of record.


                                                     /s/ Jonathan Y. Ellis
                                                     Jonathan Y. Ellis
